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                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11
12   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
13                                                [PROPOSED] ORDER GRANTING
                                Plaintiff,        PLAINTIFFS’ ADMINISTRATIVE
14                                                MOTION FOR LEAVE TO FILE A
                   v.
                                                  NOTICE OF SUPPLEMENTAL
15                                                EVIDENCE IN OPPOSITION TO
     DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION, and DOMINIC WILLIAMS,            DEFENDANTS’ MOTION TO
16
                                                  DISQUALIFY
17                              Defendants.

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                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
              FOR LEAVE TO FILE SUPPLEMENTAL EVIDENCE – No. 3:21-cv-06118
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 1          On March 15, 2023, Plaintiffs filed an administrative motion for leave to file a notice of
 2   supplemental evidence in opposition to Defendants’ Motion to Disqualify. Having considered Plain-
 3   tiffs’ motion, all materials in support thereof, and other records on file, the Court finds good cause
 4   for permitting Plaintiffs to file the Expert Report of David Kalat, dated March 10, 2023 (the “Kalat
 5   Report”), in opposition to Defendants’ Motion to Disqualify. Accordingly, the Court GRANTS
 6   Plaintiffs’ Administrative Motion for Leave to File a Notice of Supplemental Evidence in Opposi-
 7   tion to Defendants’ Motion to Disqualify, and will, accordingly, consider the Kalat Report in con-
 8   nection with Defendants’ motion.
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10          IT IS SO ORDERED.
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12   Dated: __________________                    ____________________________________
13                                                THE HONORABLE JAMES DONATO
                                                  United States District Court Judge
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                    [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
               FOR LEAVE TO FILE SUPPLEMENTAL EVIDENCE – No. 3:21-cv-06118
